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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION
Diego Galicia                           §
                                        §
                                        §    Civil Action No.
                                        §
v                                       §          5:19-cv- 1163
                                        §
                                        §
                                        §
HF Holdings, Inc.                       §
                                        §

                         Plaintiff’s Original Complaint
                              ____________________


Introduction

    1. The Fair Debt Collection Practices Ac t was enacted to stop debt
       collectors from harassing, abusing, and making misrepresentations to
       and about consumers. Congress found that these practices led to job
       loss, the number of personal bankruptcies, invasions of privacy, and
       marital instability.

    2. The FDCPA prohibits debt collectors from making false representations
       in the course of collection debts. The FDCPA at 15 U.S.C. § 1692e
       provides a non-exhaustive list of per-se violations that constitute false
       representations. Am ong these are misstating the character, amount or
       legal status of a debt, 15 U.S.C. § 1692e(2)(A), threatening to take an
       action that cannot be taken or is not intended to be taken , 15 U.S.C. §
       1692e(5); and the use of any false representation or deceptive means to
       collect or attempt to collect any debt, 15 U.S.C. § 1692e(10).
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  3. Texas enacted Chapter 392 of the Texas Finance Code to stop Texans
     from suffering harassment and abuse at the hands of debt collectors. In
     an effort to help people distinguish legitimate debt collectors from debt
     scams, Texas requires third party debt collectors to o btain a bond and
     file it with the secretary of state. See Tex. Fin. Code § 392.101.

  4. Plaintiff brings this action for Defendant’s violations of the FDCPA and
     Texas Finance Code and seeks actual damages, statutory damages,
     attorney’s fees, costs, and all o ther relief available at law or in equity.


Jurisdiction & Venue

  5. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28
     U.S.C. § 1331.

  6. Supplemental jurisdiction for Plaintiff’s state law claims arises under
     15 U.S.C. § 1367.

  7. Venue is proper in this district and division pursuant to 28 U.S.C. §
     1391(b) as a substantial part of the events or omissions giving rise to
     Plaintiff’s claims occurred here.


Parties

  8. Plaintiff, Diego Galicia, is a natural person who resides in and has
     resided in San Antonio, Bexar County, Texas at all times relevant to
     this action.

  9. Defendant, HF Holdings, Inc (“HFH”) , is a Florida Corporation with its
     principal place of business at 1707 Orlando Central Parkway, Suite
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        440, Orlando Florida 32809. HF Holdings, Inc. may be served via its
        registered agent Basil Hamdan at 5929 Anno Avenue, Orlando, FL
        32809, or wherever he may be found.


Facts

  10. HFH regularly collects, and attempts to collect, defaulted debts which
        were incurred, or alleged to have been incurred, for personal , family, or
        household purposes on behalf of others using the U.S. Mail, telephone,
        and internet.

  11. The principal purpose of HFH is the collection of such debts.

  12. The Debt is a defaulted debt that Galicia used for personal, family, and
        household purposes (the “Debt”).

  13. Galicia rented an apartment near downtown San Antonio.

  14. After numerous problems with the apartment, the complex moved him
        into a new unit.

  15. As a result of this move, the accounting for the new apartment got
        mixed up with that of the old.

  16. Upon moveout in January 2019, Galicia ensured that the complex
        straightened out all of the utilities and other expenses.

  17. The complex represented to him that he did not owe a balance.

  18. On September 16, 2019 HFH sent Galacia an email with the subject
        line:
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    RE: Regency Property Management v. Diego Galicia Case # [XXX]46

19. The text of the email:

         Please be advised that our office now represents the above -
         named client with respect to your past d ue balance of $673.49.
         Prior to recommending to our client that they commence
         litigation in the local courts, we afford you this opportunity to
         remit your payment.

         In the event we do not receive your payment, we will advise
         our client to consider retainin g one of our local affiliate
         attorneys for litigation.

         If litigation becomes necessary, you may be held responsible
         for additional costs of this action; including, but not limited to:
         court costs, attorney fees and other litigation expenses that the
         court may award. Time is of the essence if you wish to resolve
         this matter without additional expense.

         Please do not fail to give this matter your urgent attention.
         Make your payment now to avoid additional expense. If you
         have any questions concerning this ca se, contact me
         immediately.

20. On or about September 24, Galacia received a letter from HFH dated
   September 17. A true and correct copy of that letter is attached hereto
   as Exhibit A, except that per Fed. R. Civ. P. 5.2 it has been redacted.

21. In the letter HFH reiterates its litigation threats.

22. A search of Bexar County court records shows that neither Defendant
   HF Holdings, Inc. or Regency Property Management have been party to
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          a lawsuit here. 1 A search of Dallas 2, Harris 3 and Travis 4 Counties’
          records provides the same result.

     23. On information and belief, neither HFH nor Regency Property
          Management has filed suit in the State of Texas.

     24. Neither intended to file suit against Galacia and HFH used the threat
          of suit to coerce payment from him on a debt he does not owe. Using a
          case number on the subject line of the email implies that suit is
          imminent or has already been filed.

     25. A search of the Texas Secretary of State’s website shows that HFH
          does not have a bond on file. 5 HFH is not authorized to collect debts in
          Texas.


First Cause of Action – Fair Debt Collection Practices Act

     26. HFH is a debt collector as defined by 15 U.S.C. § 1692a(6).

     27. The Debt is a debt as defined by 15 U.S.C. § 1692a(5).

     28. Galacia is a consumer as defined by 15 U.S.C. § 1692a( 3).

     29. The email is a communication as defined by 15 U.S.C. § 1692a( 2).

     30. HFH’s communication violates the FDCPA in that:


1
  h ttp s: // se ar ch .b ex ar .o r g / la s t sear ch ed Sep tem b e r 1 7 , 2 0 1 9 .
2
  h ttp s: // co u r t sp o r tal .d al l asco u n ty .o r g /D ALL AS P RO D/ Ho m e / Wo rk sp ac e Mo d e?p =0 la s t
sea rch ed Sep tem b er 1 8 , 2 0 1 9 .
3
  h ttp s: // ww w.h cd i str ic tc ler k .co m /e Do c s/ Pu b lic / S earch . asp x la s t sear ch ed Sep t em b e r 1 8 ,
2019.
4
  h ttp s: // ww w. tr av is co u n ty tx .g o v /d i str ic t - c lerk /o n lin e - ca se - in fo rm a tio n l as t sear ch ed
Sep tem b er 1 8 , 2 0 1 9 .
5
  h ttp s: //d ir e ct. so s. st ate .t x .u s/d eb t co l lec to r s/ DC S earch . asp la s t s ear ch ed Sep tem b er 1 8 , 2 0 1 9 .
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        a. It misstates the amount of a debt in violation of 15 U.S.C. §
           1692e(2)(a);

        b. It threatens to take action that it cannot take or is not intended t o
           be taken in violation of 15 U.S.C. § 1692e(5); and

        c. It uses a false representation in an attempt to collect a debt in
           violation of 15 U.S.C. § 1692e(10).

  31. These violations invaded Galacia’s rights as protected by the FDCPA,
     the invasion of which caused an injury-in-fact.


Second Cause of Action –Texas Finance Code Chapter 392

  32. Galacia is a consumer as defined by Tex. Fin. Code § 392.001(1).

  33. The Debt is a consumer debt as defined by Tex. Fin. Code §
     392.001(2).

  34. HFH is a third-party debt collector as defin ed by Tex. Fin. Code §
     392.001(7).

  35. HFH’s email is as act of debt collection as defined by Tex. Fin. Code §
     392.001(5).

  36. HFH violated Chapter 392 of the Texas Finance Code in that it:

        a. Attempted to collect a debt, as a third -party debt collector,
           without first obtaining a surety bond and filing it with the
           secretary of state in violation of Tex. Fin. Code § 392.101 ; and
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          b. Used a false representation or deceptive means to collect a debt
             in violation of Tex. Fin. Code § 392.304(a)(19).


Jury Demand

   37. Plaintiff demands this case be tried before a jury.


Prayer for Relief

Plaintiff prays, that this Court enter judgment against Defendant and in favor of

Plaintiff for:

   a. Actual damages per 15 U.S.C. § 1692 k(a)(1);

   b. Statutory damages per 15 U.S.C. § 1692k(a)(2);

   c. Attorney’s fees, costs, and litigation expenses per 15 U.S.C. § 1692

      k(a)(3);

   d. Actual damages per Tex. Fin. Code § 392.403(a)(2);

   e. Statutory damages per Tex. Fin. Code §392.403(e); and

   f. Attorney’s fees, costs, and litigation expenses per Tex. Fin. Code §

      392.403(b).


Dated: September 26, 2019            Respectfully Submitted,

                                     /s/William M. Clanton
                                     William M. Clanton
                                     Texas Bar No. 24049436

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